                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

_______________________________________________
FRANK D'AGOSTINO, INDIVIDUALLY AND              )                    CASE NUMBER:
ON BEHALF OF ALL OTHERS SIMILARLY               )                    3:07cv00161-CFD
SITUATED,                                       )
      Plaintiff                                 )
v.                                              )
                                                )
WFS FINANCIAL, INC.,                            )
      Defendant                                 )
________________________________________________)                    MARCH 31, 2008

                     MEMORANDUM OF LAW IN SUPPORT OF
                 PLAINTIFF’S MOTION FOR CLASS CERTIFICATION

                   INTRODUCTION & PROCEDURAL BACKGROUND

       Plaintiff, Frank D’Agostino, brought this consumer class action on behalf of himself and

all other Connecticut consumers whose statutory rights were violated when their motor vehicles

were repossessed by Defendant, WFS Financial, Inc. (“WFS”). He alleges that, after disposing

of the class members’ vehicles, WFS credited their accounts with only the net proceeds rather

than the vehicles’ fair market values as required by the Retail Installment Sales Financing Act

(“RISFA”), Conn. Gen. Stat. § 36a-785. Plaintiff further alleges that this failure constituted a

violation of the credit agreements and, consequently, violated Part Six of Article Nine of the

Uniform Commercial Code (“UCC”), Conn. Gen. Stat. § 42a-9-601 et seq. Plaintiff also

asserted subclass claims against WFS for its failure to provide timely notices to Plaintiff and

members of the subclasses in violation of RISFA § 36a-785(c), RISFA § 36a-785(d), and UCC §

42a-9-612.

       Plaintiff initially commenced this action in the Superior Court of the State of

Connecticut, Judicial District of Hartford, with a return date of January 30, 2007. WFS removed

the action on February 1, 2007, asserting that this Court has jurisdiction under 28 U.S.C. §
1332(d)(2)(A), as amended by the Class Action Fairness Act. Concerned that the amount in

controversy might not exceed the five million ($5,000,000) dollar threshold for jurisdiction, the

undersigned discussed the class size with counsel for WFS, who provided preliminary

information that the class was sufficiently numerous for the class claims to be well in excess of

that threshold, and Plaintiff elected not to seek a remand of the action.

       WFS subsequently moved to dismiss this case on May 8, 2007, claiming that WFS, as an

operating subsidiary of a national bank, was not subject to the repossession requirements or

remedies of either RISFA or the UCC. Plaintiff opposed the motion, filing his memorandum of

law in opposition on May 19, 2007.

       On June 26, 2007, Plaintiff moved for an extension of time to move for certification of

the class. The original deadline for certification was August 1, 2007. In its motion, which was

filed with WFS’s consent, Plaintiff represented:

       Plaintiff requires information that is in the defendant’s possession in order to prepare his
       Motion for Class Certification, which he will not receive until after the court rules on
       defendant’s motion to dismiss.

This extension of time was necessary, because WFS had resisted responding to Plaintiffs’

discovery requests, which would have been very onerous, while a motion challenging the Court’s

jurisdiction of the action was pending. The Court granted this motion and extended the deadline

to October 1, 2007.

       Subsequently, the parties decided to discuss the possibility of attempting to settle this

case on a class-wide basis, and, on July 3, 2007, the parties filed a Stipulation and Proposed

Order to Facilitate Settlement Suggestions. The stipulation proposed vacating the scheduling

order and advised the court that the parties’ settlement discussions would be more productive if

the court deferred ruling on the motion to dismiss. The parties further proposed that, if their



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settlement discussions were not productive, that they file a new, proposed case management

deadlines. Although the court did not act upon this stipulation, it accommodated the parties’

requests by granting multiple extension of time requests regarding the class certification motion

(as described below) and, on March 12, 2009, it denied the motion to dismiss without prejudice

to revive it after March 31, 2008 by filing a notice to that effect.

        The parties did engage in settlement discussions beginning in the summer of 2007 but

were not close to an agreement by the October 1, 2007 deadline. On that date, Plaintiff moved

for a second extension of time until November 30, 2007 to file the class certification motion,

again referencing the parties’ settlement discussions. The Court granted the motion and directed

the parties to file a status report advising of the status of their discussions, which the parties did

on November 1, 2007. On November 2, 2007, Plaintiff filed a third motion to extend the time to

file the class motion until January 29, 2008, again citing the parties’ discovery discussions. In

this third motion, Plaintiff asserted that the parties had made some progress but could not make

any additional progress until WFS had completed a labor-intensive file review.

        Although the nature and the reason for this review were not specified in the motion, WFS

was reviewing the class members’ files to ascertain how many of them fell within the three

subclasses asserted in the complaint. This review was necessary, because Plaintiff’s negotiation

position for the subclass members differed significantly from the position for the remainder of

the class members. WFS took considerably longer to conduct this review than counsel had

originally contemplated, and it became necessary for plaintiff to seek a fourth extension of time

on January 25, 2008. In this fourth extension, Plaintiff represented that WFS had made

considerable progress with the file review, but that it had not yet been completed. The

undersigned stated in this motion:



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       The undersigned has discussed the reasons for the delay in completing the file review
       with counsel for WFS Financial, Inc., and has expressed his concern regarding the length
       of time that this process has required. He is satisfied based upon the information
       provided to him that WFS Financial, Inc., is conducting the review in good faith, that the
       reasons for the delay are beyond the control of its counsel, and that it will not be
       necessary to seek a further extension of time after this one.

       WFS did complete the review, and on February 19, the parties filed a joint status report

reporting the completion of that review and the parties’ plans to conduct a conference call to

resume their settlement discussions on February 22, 2008. That conference call took place. The

parties, however, remained far apart in their settlement positions. The undersigned believes that

the major reason for the difference in their positions remains their differing views regarding the

strength of WFS’s motion to dismiss.

       At the time that Plaintiff initially moved to extend the time to bring the class motion, he

asserted that adjudication of the class motion would require the furnishing of discovery by WFS

that was deferred pending adjudication of the motion to dismiss. Adjudication of the motion to

dismiss was itself deferred for the parties’ settlement discussions. Nevertheless, the deadline for

the class certification motion is March 31, 2008, and plaintiff possesses sufficient information to

assert a prima facie argument for class certification. Plaintiff accordingly brings this motion and

respectfully requests that the Court schedule a status conference to address the proper manner of

adjudicating the motion to dismiss and the motion for class certification.

                    THE FACTUAL BASIS OF PLAINTIFFS’ CLAIMS

       Plaintiff purchased a pre-owned 2002 Nissan Pathfinder, the “Vehicle”, from a

Connecticut auto dealership pursuant to a retail installment sales contract that was subsequently

assigned to WFS. Plaintiff fell behind on his payments, and WFS repossessed the Vehicle on

May 19, 2006. On May 23, 2006, WFS sent Plaintiff a Notice of Repossession and Right to

Redeem. See Ex. A. to Complaint. On June 9, 2006, WFS sent Plaintiff written notice of its


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plan to sell the Vehicle at a private sale to occur some time after June 8, 2006 - - one day prior

to the date of the notice. See Ex. B to Complaint. WFS subsequently sold the Vehicle, and on

July 2, 2006, sent Plaintiff a Notice of Sale of Repossessed Property and Explanation of the

Calculation of Surplus or Deficiency. See Ex. C to Complaint. In that notice, WFS credited

Plaintiff’s account balance with the net selling price of the vehicle and not the fair market value

as defined by Conn. Gen. Stat. § 36a-785(g) 1 , which amount far exceeded the actual selling

price. This net recovery was not sufficient to pay the balance owed by Plaintiff on his account,

and it sought from him a deficiency in the amount of $7,378.85.

        The class (“Class”) is comprised of individuals who are similarly situated to the plaintiff

in that they:

                a. Purchased motor vehicles pursuant to installment loan contracts or installment
                   sales contracts that were executed within the state of Connecticut and which
                   were subsequently held by WFS;
                b. WFS repossessed and subsequently sold their vehicles within six years of the
                   commencement of this action;
                c. The net proceeds of the sale were not sufficient to cover the actual and
                   reasonable expenses of the resale, the actual and reasonable expenses of the
                   retaking and storage of the vehicles, and the balance due under the retail
                   installment contracts or installment sales contracts;
                d. WFS credited their accounts with only the net proceeds of the sale and
                   subsequently attempted to collect the resulting deficiency by means of letters,
                   phone calls, reports to credit bureaus, and or assignment or transfer of the
                   accounts to debt collectors.
        There are also three subclasses of class members to whom WFS failed to:
                 a. Send a notice of right to reinstate the vehicle within three days of the
                    ``repossession, (“Subclass A”);
                 b. Send a notice not less than ten days prior to the time and place of any public
                    sale or the date after which any private sale may be made, (“Subclass B”); and,



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 RISFA provides at § 36a-785(g) that the fair market value for motor vehicles is presumed to be the
average NADA Eastern Edition retail and trade-in values, which presumption may be rebutted only by in
court testimony. The fair market value of Plaintiff’s vehicle was $15,625. See Exhibit A.


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              c. Give reasonable notice of the time and place of any public sale or the date after
                 which any private sale may be made, (“Subclass C”).
                                    SUMMARY OF CLAIMS

FIRST COUNT: CLASS CLAIM FOR VIOLATION OF RISFA

       Conn. Gen. Stat. § 36a-785 requires the holder of a retail installment sales contract,

following a repossession and sale, to credit the vehicle owner with the fair market value of the

vehicle. Section 26a-785(g) provides that the presumptive value of the vehicle is the average of

trade-in and retail values of the NADA Used Car Guide, Eastern Edition, which values can be

rebutted only by in-court testimony. WFS did not credit the class members’ accounts with the

fair market value and made no effort to do so. It has engaged in collection and consumer credit

reporting activity, even though it is not permitted to collect a deficiency greater than the contract

balance plus the actual and reasonable costs of repossession and storage, reduced by the greater

of the gross sale proceeds and the vehicle’s fair market value, and it has therefore failed to

comply with Conn. Gen. Stat. § 36a-785(f) and (g).

SECOND COUNT: CLASS CLAIM FOR VIOLATIONS OF UCC

       The security agreements executed by the Members of the Class specifically limits WFS’s

rights and remedies after default by the Members of the Class to those provided by Connecticut

law and the contract. Consequently, WFS breached the terms of the security agreements by

seeking deficiencies in amounts greater than that permitted by RISFA, which is a violation of the

UCC, Conn. Gen. Stat. § 42a-9-601.




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THIRD COUNT: SUBCLASS A CLAIM FOR VIOLATION OF RISFA

       Although WFS sent the members of Subclass A with notices of their right to be reinstated

under the contracts as required by Conn. Gen. Stat. § 36a-785(c) 2 , the notices were not sent

within three days of the repossession as required by the statute.

FOURTH COUNT: SUBCLASS B CLAIM FOR VIOLATION OF RISFA

       Although WFS sent the members of Subclass B notice of the day after which a private

sale may be made, those notices were not sent by a date that was not less than ten days prior to

that sale date in violation of Conn. Gen. Stat. § 36a-785(d).

FIFTH COUNT: SUBCLASS C CLAIM FOR VIOLATION OF UCC

       The notice to Plaintiff was not sent until after the disclosed date after which a private sale

could take place and was therefore clearly not a reasonable notice within the meaning of Conn.

Gen. Stat. § 42a-9-611 and § 42a-9-612. WFS has advised in the course of the settlement

discussions that there are numerous other class members whose notices were similarly sent prior

to the sale date or which were otherwise sent unreasonably late with regard to the sale date.

Plaintiff will be able to ascertain which members of Subclass B are also within Subclass C after

formal disclosures have been made by WFS.

       Plaintiff seeks statutory damages under RISFA and the UCC. Plaintiff also seeks an

Order requiring WFS to cease and desist all collection activities, return all amounts collected

subsequent to the repossessions, and inform all credit bureaus to whom it reports that Plaintiff’s

and the Class members’ accounts have a zero balance. This class action suit is the only

mechanism by which these individuals, who are most certainly unaware of their claims, could

ever receive the compensation to which they are entitled.




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                                                ARGUMENT

I.        GENERAL LEGAL STANDARDS GOVERNING CLASS CERTIFICATION

          The standard for certifying class actions brought pursuant to F.R.C.P. Rule 23(a) and (b)

is set forth in Duprey v. Conn. Dept. of Motor Vehicles, 191 F.R.D. 329, 331 (D. Conn. 2000).

In ruling on class certification, well-pleaded facts are to be accepted as true. Id., citing Eisen v.

Carlisle & Jacquelin, 417 U.S. 156, 177-78 (1974) (“[w]hether a suit should proceed as a class

action is a decision made independently of whether a plaintiff has stated a cause of action or

whether he can prevail on the merits”).

          The plaintiff bears the initial burden of demonstrating that all requirements for class

certification have been met. Duprey, id., citing Guckenberger v. Boston Univ. 957 F.Supp. 306,

325 (D.Mass. 1997). However, a plaintiff’s burden is not a heavy one. See Piel v. National

Semiconductor Corp., 86 F.R.D. 357, 368 (E.D. Pa. 1980); Anderson v. City of Albuquerque, 690

F.2d 796, 799 (10th Cir. 1982); Paxton v. Union Nat’l Bank, 688 F.2d 552, 562 (8th Cir. 1982).

Once a plaintiff makes a preliminary legal showing that the requirements are met, the burden of

proof is upon the defendant to demonstrate otherwise. See 2 H. Newberg, Newberg on Class

Actions (3d Ed. 1992) (“Newberg”) § 7.22 at 7-74 to 7-75. Provided that a plaintiff’s

contentions regarding the class issues are based upon a reasonable foundation, the Court should

not deny certification because of a defendant’s challenge. See Sollenbarger v. Mountain States

Tel. & Tel. Co., 121 F.R.D. 417 (D.N.M. 1988); In re Industrial Gas Antitrust Litig., 100 F.R.D.

280 (N.D. Ill. 1983); Kuck v. Berkey Photo, Inc., 81 F.R.D. 736 (S.D.N.Y. 1979).

       The United States Supreme Court has noted that “[c]lass actions serve an important function

in our system of civil justice.” Gulf Oil Co. v. Bernard, 452 U.S. 89, 99 (1981). The Court has



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    In paragraph 36 of the Complaint, the section is incorrectly referenced as § 36a-785(a).


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also recognized that the class action procedure is necessary for private rights of action to be

initiated. Deposit Guaranty Nat’l Bank v. Roper, 445 U.S. 326, reh’g. denied, 446 U.S. 947

(1980). As stated in Roper, class actions serve an important purpose, because they permit

plaintiffs to “vindicat[e] the rights of individuals who otherwise might not consider it worth the

candle to embark on litigation in which the optimum result might be more than consumed by the

cost.” Id. at 338. Similarly, a federal appeals court has stated, in Esplin v. Hirschi, 402 F.2d 94,

101 (10th Cir. 1968), cert. denied, 394 U.S. 928 (1969), that:

               Without the class action device, many actionable wrongs would go
               uncorrected and persons affected thereby unrecompensed. In
               essence, the class action device is a bona fide method for
               redressing violations of the … laws and for compelling compliance
               with their mandates. Accordingly, the interests of justice require
               that in a doubtful case, any error, if there is to be one, should be
               committed in favor of allowing the class action.

    So, too, “the Second Circuit has directed district courts to apply Rule 23 according to a

liberal rather than a restrictive interpretation.” See Duprey, id., citing Korn v. Franchard Corp.,

456 F.2d 1206, 1208-09 (2d Cir. 1972). Thus, this Court should likewise resolve any doubt

regarding the propriety of certification “in favor of allowing the class action,” so that it will

remain an effective vehicle for deterring corporate wrongdoing. Esplin v. Hirschi, 402 F.2d at

101; Welch v. Board of Directors of Wildwood Golf Club, 146 F.R.D. 131 (W.D. Pa. 1993);

Lessard v. Metropolitan Life Insurance Co., 103 F.R.D. 608, 610 (D. Me. 1984); In re Folding

Cartons Antitrust Litigation, 75 F.R.D. 727 (N.D. Ill. 1977).

    As shown below, Plaintiffs satisfy the requirements of Rule 23(a) and (b), and class

certification should be granted on the claims asserted in their Class Action Complaint.




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II.        THE PROPOSED              CLASS       SATISFIES       THE      REQUIREMENTS              FOR
           CERTIFICATION.

      The proposed class should be certified, because it meets the requirements of numerosity,

commonality, typicality, and adequacy, and because the common questions predominate over

any individual questions and a class action is superior to other methods to adjudicate the

controversy. FRCP 23(a) and (b).

      A.     The numerosity requirement is satisfied as Plaintiff reasonably estimates, and
             WFS has confirmed, that the class and the subclasses consists of at more than
             forty members, making joinder impracticable.

       Numerous federal courts have adopted the standard that a class with at least 40 members is

presumably sufficient to satisfy the numerosity requirement, as joinder of a class that large

would ordinarily be impracticable. The Second Circuit, referencing the leading class action

commentator, adopted this standard in Robidoux v. Celani, 987 F.2d 931, 935 (2d Cir. 1993).

Citing Robidoux, our federal district court has, in Duprey, in turn adopted this 40-member

standard, explaining that:

                  The Second Circuit in Robidoux v. Celani, 987 F.2d 931, 935 (2d
                  Cir. 1993), held that a plaintiff need not show the exact size of the
                  putative class in order to satisfy the numerosity requirement, so
                  long as the plaintiff shows some evidence of, or reasonably
                  estimates, the number of class members. The Court noted that a
                  leading treatise had concluded, ‘based on prevailing precedent, that
                  the difficulty in joining as few as 40 class members should raise a
                  presumption that joinder is impracticable.’ Id., at 936 (citing 1
                  Herbert B. Newberg, Newberg on Class Actions § 3.05, at 141-42
                  (2d ed. 1985)).
Duprey, 191 F.R.D. 333.

           For the purpose of class certification, well-pleaded facts are to be accepted as true.
Duprey, 191 F.R.D. at 331, citing Eisen, supra. For this reason, “in most cases a class action
properly arises prima facie from a well-pleaded complaint, immediately shifting to the party
opposing the class the burden to prove otherwise, and leaving the court in any event the duty not



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to reach an adverse class determination except if justified ‘after a proper appraisal of all the
factors enumerated on the act of the Rule itself.’” Newberg, §7:17, citing Eisenberg v. Gagnon,
766 F.2d 770 (3d Cir. 1985). “Since Rule 23 is generally required to be liberally construed,
these presumptions, arising at an early stage of the litigation, are invoked for the most part in
favor of upholding the class.” Id. Courts in this Circuit liberally construe Rule 23’s
requirements, and for this reason, it is therefore impracticable for them to be joined in a single
proceeding and plaintiffs have accordingly met their minimum threshold of establishing that
numerosity exists. Duprey, 191 F.R.D. at 331.
      Plaintiff alleges that there are forty or more class members (¶21 of the Complaint), and at

the time of the filing of the complaint, believed it likely that the class size could exceed hundreds

of class members. The parties have subsequently engaged in informal discovery for purposes of

advancing their settlement discussions, and those conversations have confirmed that numerosity

should not be contested in this case.



      B.       There are questions of law or fact common to the class.

    “The threshold of ‘commonality’ is not high.” Flanigan v. General Electric, 1998 U.S. Dist.

LEXIS 22873 (D. Conn. 1998), citing Jenkins v. Raymark Indus., 782 F.2d 468, 472 (5th Cir.

1986). Commonality requires only that “the class claims against [Defendant] arise out of a

single set of operative facts, and are based on a single set of legal theories.” Duprey, 191 F.R.D.

at 334; Macarz v. Transworld Sys., 193 F.R.D. 46, 49 (D. Conn. 2000) (commonality met if

putative class members’ grievances share a common question of law or fact), citing 3B Moore’s

Federal Practice & Procedure P 23.06-1 (1996). “Rule 23(a)(2) requires only that questions of

law or fact be shared by the prospective class -- it does not require that all questions of law or

fact raised be common.” Id., citing Savino v. Computer Credit Corp., 173 F.R.D. 346, 352

(E.D.N.Y. 1997); see also 1 Newberg on Class Actions at § 3.10 (3d ed. 1992).




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       In the present case, Plaintiff alleges that WFS violated the foreclosure provisions of

RISFA and the UCC by repossessing and selling the vehicles owned by Plaintiff and the class

members and then crediting their accounts with only the net sales proceeds rather than the fair

market value. Plaintiff also alleges that, with respect to Subclasses of Class members, WFS

further violated RISFA by failing to provide notices within the required time periods regarding

the right to reinstate the contracts (Subclass A) and the dates after which the Vehicles could be

disposed of by private sale (Subclasses B & C).

       WFS’s conduct, as alleged above, raises common questions of law regarding whether the

notices attached to the Complaint violate RISFA and the UCC. Where a case turns on the

alleged existence of common unlawful practices, the commonality requirement is satisfied.

Duprey v. Conn. Dept. of Motor Vehicles, 191 F.R.D. at 337 (legality of handicap placard fee

under disability act was common issue sufficient to show commonality).

       Additionally, WFS has moved to dismiss the Complaint and, although that motion was

denied without prejudice, it will presumably be revived. The legal questions of whether WFS, as

an operating subsidiary of a national bank is subject to RISFA and the UCC are common to all of

the class members’ claims.

    C. The claims of the representative party is typical of the claims of the class.

       Typicality is satisfied when each class member's claim arises from the same course of

events and each class member makes similar legal arguments to prove the defendant’s liability.

Robidoux, 987 F.2d at 936. The measure of whether a plaintiff’s claims are typical is whether

the nature of the plaintiff’s claims, judged from both a factual and a legal perspective, are such

that in litigating his or her personal claims he or she can reasonably be expected to advance the

interest of absent class members. See, e.g., General Telephone Co. of Southwest v. Falcon, 457



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U.S. 147, 156-157 (1982); Weiss v. York Hospital, 745 F.2d 786, 809-810 (3d Cir. 1984), cert.

denied, 470 U.S. 1060 (1985).

       “When it is alleged that the same unlawful conduct was directed at or affected both the

named plaintiff and the class sought to be represented, the typicality requirement is usually met

irrespective of minor variations in the fact patterns underlying individual claims.” Duprey,

supra, citing Robidoux v. Celani, 987 F.2d at 937; Carpenters Local 899 v. Phoenix Associates,

152 F.R.D. 518, 522 (S.D.W.Va. 1994); Reep v. Barco Auto Leasing Corp., supra, citing

Kornberg v. Carnival Cruise Lines, Inc., 741 F.2d 1332, 1337 (11th Cir. 1984). Where the class

representative alleges a common pattern of wrongdoing and will present the same evidence

(based on the same legal theories) to support both his or her claims and the claims of the class

members, courts have held the typicality requirement to be satisfied.

       In this case, typicality is satisfied, because the Plaintiffs’ claims arise out of the same

course of conduct, i.e., Defendant’s repossession conduct of improperly calculating the

deficiency balance, and as to the subclasses, Defendant’s failure to provide timely notices.

    D. The representative party and his counsel will fairly and adequately protect the
       interests of the class.

       Class representatives must fairly and adequately protect the interests of the class. FRCP

23(a). “The adequacy of representation requirement was designed to protect the due process

rights of the absent class members, since they will be bound by a judgment in the action.”

Duprey, 191 F.R.D. at 337. The adequacy inquiry “serves to uncover conflicts of interest

between named parties and the class they seek to represent.” Freedman v. Value Health, Inc.,

190 F.R.D. 33 (D. Conn. 1999), citing Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 117 S. Ct.

2231, 2250, 138 L. Ed. 2d 689 (1997).

    Plaintiff attaches his affidavit to this Memorandum. As he is involved in the litigation and



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has no known conflicts with any of the class members, he is adequate to represent the class. See

Exhibit B. He has retained counsel with substantial experience litigating claims of this type both

in class actions and in individual suits. See Affidavit of Attorney Daniel S. Blinn attached as

Exhibit C. Attorney Blinn has considerable experience representing plaintiffs in class actions.

He has served as class counsel in twenty certified class actions, including numerous cases

involving auto repossessions under RISFA and the UCC. Accordingly, the requirements of

FRCP 23(g)(1) & (4) are satisfied.

    E. Rule 23(b) is satisfied.

       Once the Court has concluded that the four prerequisites for class action certification

have been met, it must decide whether the plaintiff has satisfied at least one of the requirements

of Rule 23(b). This class action is maintainable under both Rule 23(b)(2) and (3). Rule 23(b)(2)

is satisfied, because the Complaint seeks equitable relief in the form of an adjustment to the class

members’ accounts. At a minimum, WFS failed to credit their accounts with the fair market

value of their vehicles, and the class members maintain that they are entitled to that credit.

Additionally, Plaintiff maintains that the class and subclass members are not liable for any

deficiency. WFS has failed and refuse to make adjustments to their accounts, and the class

should therefore be certified under Rule 23(b)(2).

       In addition to these equitable claims, which do not require a showing of predominance or

superiority in order to be certified, Plaintiff also seeks statutory damages under RISFA and the

UCC on behalf of the class and subclass members. That part of Plaintiff’s claim should be

certified under Rule 23(b)(3), which requires that the Plaintiff show that the common questions

of law or fact predominate over any questions affecting only individual members and the class

action is superior to other methods of fair and efficient adjudication.




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             1.   The predominance requirement is satisfied.

       Predominance requires that the common questions predominate over issues that would

relate to only individual members. Duprey, 191 F.R.D. 339. “When common questions

represent a significant aspect of a case so that they can be resolved for all class members in a

single suit, predominance exists.” McClendon v. Continental Group, Inc., 113 F.R.D. 39, 43-44

(D.N.J. 1986); 7A Federal Practice and Procedure, supra, § 1778, pp. 528-29. The

predominance requirement is generally satisfied in cases alleging a pattern of consumer fraud.

Amchem Products, Inc. v. Windsor, 521 U.S. at 625.

    “The fundamental question to decide is whether the group aspiring to class status is seeking

to remedy a common legal grievance.” Reep v. Barco Auto Leasing Corp., 1997 U.S. Dist.

LEXIS 22400 (D. Conn. 1997), quoting Bennett v. Gravelle, 323 F. Supp. 203, 218 (D. Md.

1971). The court appropriately focuses on the liability issue “and if the liability issue is common

to the class, common questions are held to predominate.” Berwecky v. Bear, Stearns & Co., 197

F.R.D. 65 (S.D.N.Y. 2000), citing Dura-Bilt Corp. v. Chase Manhattan Corp., 89 F.R.D. 87, 93

(S.D.N.Y. 1983); Dietrich v. Bauer, 192 F.R.D. 119, 127 (S.D.N.Y. 2000); Hall v. Midland

Group & Midfirst Bank, 2000 WL 1725238 (E.D. Pa. 2000) (common questions of law and fact

predominated because pertinent factual and legal predicates of each class member’s claims were

virtually identical). Where, as here, a common question is presented as to the legality of WFS’s

conduct under state law, such common question is controlling in the litigation and, accordingly,

predominance is established. Duprey, 191 F.R.D. 339. Additionally, the common question of

law regarding WFS’s federal preemption defense predominates over any individualized

questions.

       The common question in this case involves Defendant’s improper calculation of




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deficiency balances, and as to the subclasses, failure to send timely notices. Indeed, the only

individual question in this case concern the calculation of damages, which can be accomplished

by a ministerial review of Defendant’s files. Statutory damages under RISFA, § 36a-785(i) and

the UCC, § 42a-9-625(c)(2), are formulaic. Any actual damages would be any amounts actually

collected by WFS in excess of the amount of the properly calculated deficiency permitted to be

charged. Actual damages for subclass A would also include payments for the actual and

reasonable expenses of retaking and storage. This information can be readily ascertained from

Defendant’s records. In any event, the existence of individual questions of damages is not

sufficient to defeat a showing of predominance. Thrope v. State of Ohio, 173 F.R.D. 483, 490

(S.D. Ohio 1997).

       Consequently, all “non-common” questions can be readily answered by a ministerial

examination of Defendant’s files, and the common questions regarding the legality of WFS’

practices and the class members’ entitlement to relief predominate over the readily answered

questions that may apply to individual class members.

       2.      A class action is superior to other methods for the fair and efficient
               adjudication of the controversy.

       Rule 23(b)(3) lists factors “pertinent” to the finding that a class action is superior to other

available methods for the fair and efficient adjudication of the controversy, which includes:

               (A) the interest of members of the class in individually controlling
               the prosecution or defense of separate actions; (B) the extent and
               nature of any litigation concerning the controversy already
               commenced by or against members of the class; C) the desirability
               or undesirability or concentrating the litigation of the claims in the
               particular forum; (D) the difficulties likely to be encountered in the
               management of the class action.

       In this case, the class members have not shown any interest in individually controlling the

prosecution of separate actions; Plaintiff is unaware of any pending litigation concerning this



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controversy. This is not unexpected for a class involving relatively small amounts of individual

damages. Accordingly, this class action is an ideal forum for these individuals to have their

claims adjudicated. See Thrope, 173 F.R.D. at 490. “When the entire class is composed of small

claimants, neither joinder nor intervention would be a realistic available alternative” and “denial

of a class action would effectively exclude them from the judicial redress.” Id. at 491, citing 1

Newberg (3rd Ed. 1992), § 4.27 at 4-109. Because most of the absent class members are unaware

of their claims, this lawsuit would serve to protect their interests. If any Class Members have

ascertained the violation, they may be, on an individual basis, unable to take a stand against

Defendant’s actions due to the relatively small amount of available damages and because of the

dearth of attorneys who practice consumer law. A class action would promote judicial economy

by preventing other lawsuits, eliminating duplicative efforts by litigants and the judiciary, and

preventing duplicative costs and fees. Inconsistent judicial decisions against Defendant would

also be avoided.

       Various courts have noted the special efficacy of class actions in the consumer law

context. See, e.g., Eshaghi v. Hanley Dawson Cadillac Co., 214 Ill. App. 3d 995, 574 N.E.2d

760, 766 (1991) (“t]he consumer class action, when brought by those who have no other avenue

of legal redress, provides restitution to the injured, and deterrence of the wrongdoer”); Haynes v.

Logan Furniture Mart, Inc., 503 F.2d 1161 (7th Cir. 1974) (court should consider the “inability

of the poor or uninformed to enforce their rights, and the improbability that large numbers of

class members would possess the initiative to litigate individually”). Here, the Class Members

are individual consumers whose vehicles were repossessed. Given the very circumstances that

make them class members, it is fair to assume that most of these persons are of modest means

and could not afford to litigate their claims individually. As argued above, the claims of these




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individuals are relatively small and typically would not justify protracted litigation.

       Even if the class members had the knowledge and desire to each bring their own claim,

the result would be a “multiplicity and scattering of suits with the inefficient administration of

litigation which follows in its wake.” See Green v. Wolf Corp., 406 F.2d 291, 301 (2d Cir.

1968), cert. denied, 395 U.S. 977 (1969). By contrast, it would be more desirable to have all of

the claims concentrated in a single forum. Rule 23(b)(3)(C).

       The final factor in considering predominance and superiority is whether there would be

difficulty managing the class. Rule 23(b)(3)(D). To the extent that the size of the class is

considered a management difficulty, “[i]t should be kept in mind that management difficulties,

other superiority factors, must be judged in comparison to the fairness and efficiency of other

available methods for adjudicating the controversy. The only real alternative to a class action in

this case is for there to be no adjudication of these claims whatsoever. It is not only the superior

means of adjudication, but practically, it is the only means.



                                          CONCLUSION

    For the reasons set forth herein, Plaintiffs respectfully request that this action be certified as

a class action pursuant to Rule 23.


                                               PLAINTIFF, FRANK D'AGOSTINO, Individually,
                                               And On Behalf Of The Class,


                                            By: __/s/Daniel S. Blinn_______________
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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 31st day of March, 2008, a copy of the foregoing
Memorandum of Law in Support of Motion for Class Certification was filed electronically and
served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by
e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF System.


                                             ____/s/Daniel S. Blinn_______
                                             Daniel S. Blinn




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